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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

In re:                                               )
                                                     )                               Bankruptcy Case No.
GARY DAVID HAUCK and                                 )                                    10-30894-SBB
BRENDA KAY HAUCK,                                    )                                         Chapter 7
Debtors.                                             )
_____________________________________                )
                                                     )
STEPHANIE M. MARTIN,                                 )
Plaintiff,                                           )
                                                     )
v.                                                   )                          Adversary Proceeding No.
GARY DAVID HAUCK and                                 )                                    10-01888-SBB
BRENDA KAY HAUCK,                                    )
Defendants.                                          )

                                                 JUDGMENT

         The above-captioned matter is before the Court for consideration of:

         (1)     Stephanie M. Martin’s (the “Plaintiff”) Motion for Summary Judgment (the “Plaintiff’s
                 Motion for Summary Judgment”);
         (2)     the Defendants’ Response thereto;
         (3)     the Plaintiff’s Reply thereto; and
         (4)     Gary David Hauck’s and Brenda Kay Hauck’s (the “Defendants”) Cross-Motion for
                 Summary Judgment (the “Defendants’ Cross-Motion for Summary Judgment”), including
                 the Defendants’ Affidavit.

         In accordance with the Order issued by this Court concurrently herewith,

     IT IS ORDERED AND ADJUDGED that the Plaintiff’s Motion for Summary Judgment is
GRANTED; and it is

      FURTHER ORDERED AND ADJUDGED that Defendants’ Cross-Motion for Summary
Judgment is DENIED.

         Dated this 13th day of January, 2012.
                                                         FOR THE COURT:

                                                         Bradford L. Bolton, Clerk

                                                         By: __________________________
                                                               Deputy
APPROVED AND ACCEPTED:

By: __________________________
    Sidney B. Brooks
    U.S. Bankruptcy Judge
